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   8                     UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
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  11    ALFREDO GARIBAY,             ) Case No. CV 24-09367-SVW-SHK
  12                                 )
                        Petitioner,  )
  13                                 ) ORDER REQUIRING RESPONSE TO
                  vs.                ) PETITION (FEDERAL CUSTODY)
  14                                 )
        FCI LOMPOC, II,              )
  15                                 )
                         Respondent. )
  16                                 )

  17          Petitioner has filed a Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. §

  18   2241. To facilitate the just, speedy, and inexpensive determination of this action, IT IS

  19   ORDERED that:

  20          1. The Clerk shall promptly (a) serve a copy of the petition and a copy of this

  21   Order on Respondent and the United States Attorney, or his authorized agent, in

  22   accordance with Rule 4(i) of the Federal Rules of Civil Procedure; and (b) serve a copy of

  23   this Order on Petitioner.

  24          2.     Within 14 days, Respondent shall serve and file a Notice of Appearance

  25   notifying the court of the name of the attorney who will have principal charge of the

  26   case, together with the address where the attorney may be served, and the attorney’s

  27   telephone and fax number.

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   1             3.   If Respondent contends that the petition can be decided without the court
   2   reaching the merits of Petitioner’s claims (e.g., because Respondent contends that
   3   Petitioner has failed to exhaust any administrative remedies as to any ground for relief
   4   alleged in the petition, or that the petition is barred by the statute of limitations),
   5   Respondent shall file a motion to dismiss no later than 60 days from the date of this
   6   Order. The motion to dismiss shall not address the merits of Petitioner’s claims but
   7   shall be confined to the basis for Respondent’s contention that dismissal is warranted.         1




   8   At the time the motion to dismiss is filed, Respondent shall lodge with the court all
   9   records bearing on Respondent’s contention in this regard.
  10             4.   If Respondent files a motion to dismiss, Petitioner shall file his opposition
  11   to the motion within 30 days of the date of service thereof.2 At the time the opposition is
  12   filed, Petitioner shall lodge with the court any records not lodged by Respondent that
  13   Petitioner believes may be relevant to the court’s determination of the motion.
  14             5.   Within 14 days of the service of the opposition, Respondent shall file a
  15   reply, if any, to Petitioner’s opposition to a motion to dismiss. If the motion is denied,
  16   the court will afford Respondent adequate time to respond to Petitioner’s claims on the
  17   merits.
  18             6.   If Respondent does not contend that the petition can be decided without
  19   the court reaching the merits of Petitioner’s claims, Respondent shall file and serve an
  20   answer to the petition no later than 75 days from the date this Order. At the time the
  21   answer is filed, Respondent shall lodge with the court all records bearing on the merits
  22   of Petitioner’s claims. The answer shall also specifically address the necessity for an
  23   evidentiary hearing to resolve any issue.
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                     If Respondent contends that Petitioner has failed to exhaust any administrative
  26   remedies as to any ground for relief alleged in the petition, the motion to dismiss shall also
       specify the remedies still available to Petitioner.
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                     “Date of service” refers to the date set forth in the Certificate of Service attached to
  28   the document served. It does not refer to the date the document is actually received.

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   1          7.       Petitioner may file a reply responding to matters raised in the answer within
   2   30 days of the date of service thereof. The reply (a) shall state whether Petitioner
   3   admits or denies each allegation of fact contained in the answer; (b) shall be limited to
   4   facts or arguments responsive to matters raised in the answer; and (c) shall not raise
   5   new grounds for relief that were not asserted in the petition. Grounds for relief withheld
   6   until the reply will not be considered unless the court grants leave to amend the petition.
   7   No reply shall exceed 10 pages in length absent advance leave of court for good cause
   8   shown.
   9          8.       A request by a party for an extension of time within which to file any
  10   pleading will be granted only on a showing of good cause, and should be made in
  11   advance of the due date of the pleading. Any such request shall be accompanied by a
  12   declaration explaining why an extension of time is necessary and by a proposed order
  13   granting the requested extension.
  14          9.       Unless otherwise ordered by the court, the matter shall be deemed
  15   submitted on the day following the date the reply is due.
  16          10.      Every document delivered to the court must include a certificate of service
  17   attesting that a copy of such document was served on opposing counsel (or on the
  18   opposing unrepresented party). Any document delivered to the court without a
  19   certificate of service may be returned to the submitting party and without consideration
  20   by the court.
  21          11.      Respondent shall, in every pleading it files with the court that includes
  22   exhibits, tab those exhibits in such a manner that they can be readily identified and
  23   accessed by the court. In addition, Respondent shall label each document with the
  24   corresponding number of the document indicated in the Notice of Lodgement.
  25          12.      If Petitioner wishes to receive a conformed copy of a document filed with
  26   the court, he shall submit one original and one copy of the document.
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   1          13.    Petitioner shall immediately notify the court and Respondent of any change
   2   of Petitioner’s address. If Petitioner fails to keep the court informed of where Petitioner
   3   may be contacted, this action will be subject to dismissal for failure to prosecute.
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       DATED: 12/19/2024
   7                                       SHASHI H. KEWALRAMANI
                                           UNITED STATES MAGISTRATE JUDGE
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